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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                      CRIMINAL ACTION

V.                                                            NO. 12-01

WALTER PORTER ET AL.                                          SECTION "F"

                                  ORDER & REASONS

        Before the Court is Walter Porter’s motion to suppress certain

evidence. For the following reasons, the motion is DENIED.

                                    Background

        On June 19, 2014, a federal grand jury returned a third

superseding indictment charging 13 defendants with 24 counts of

federal crimes. The grave charges alleged in the indictment have

been listed, summarized, and repeated throughout the procedural

history of this case. This Order and Reasons assumes familiarity.

This motion is brought by the alleged gunman of the criminal

enterprise, Walter Porter.

        Porter is charged in Counts 1, 3, 4, 10, 11, 12, 13, 14, 15,

16, 17, 18, 21, and 22 of the indictment. He is charged as a member

of the RICO and gun conspiracies, for three counts of being a felon

in possession of a firearm, and for using a firearm in a drug crime

and crime of violence. He is also accused of obstructing justice.

Most consequential, he is alleged to have participated in four

separate murders in furtherance of the RICO conspiracy.




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       In this motion, Porter moves the Court to suppress evidence

seized pursuant to the following search warrants: 1) a warrant

issued on October 20, 2011 for a residence located at 4724 South

Liberty Street in New Orleans; 2) a warrant issued on October 21,

2011 for a 2001 Oldsmobile vehicle;              3)   a   warrant    issued       on

November 15, 2011 for computers and other electronic devices; and

4) a warrant issued on November 21 for a “G-Technology Brand, G-

Drive.”

       Porter contends that the warrants were unconstitutionally

broad because they allowed law enforcement officers to search his

computers, electronic devices, and other documents in his vehicle

and home that were unrelated to the charges against him. Porter

submits that the officers obtained the warrants after developing

Porter as a suspect in the murder of Curtis Matthews. Because the

computers and electronic devices had no connection to the murder

investigation, Porter contends that the officers had no probable

cause under the Fourth Amendment to obtain a search warrant for

those items.

       Porter does not contest the validity of the search warrants

as they pertain to evidence of weapons. 1 Indeed, Porter concedes


1 Porter states, “While portions of these applications, such as
those seeking weapons and weapons-related evidence, arguably meet
the probable cause test under the Fourth Amendment, those listed
herein wholly fail to meet the requirement of nexus with the
offense under investigation and transform the warrant into the
“general warrant” prohibited under the Fourth Amendment.”
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that “any representation by the government that it does not intend

to introduce any item or computer-derived information at issue in

this motion will moot any request for suppression as to that item

or information.”

        In its opposition, the government submits that no items of

evidentiary value came from the searches of Porter’s computers or

electronic devices. Further, the government concedes that it will

not seek to introduce any evidence obtained from these items at

trial. The government asserts that officers seized firearms that

form the basis for two counts in the indictment; however, Porter

does not challenge the officer’s probable cause to obtain a search

warrant for weapons. Accordingly, Porter’s motion is largely moot.

        The only items other than the (nonexistent) evidence obtained

from the computers and electronic devices that Porter seeks to

suppress are two white t-shirts and various unspecified documents

and photos. These items were seized from Porter’s residence and

vehicle. The government does not specifically address whether it

will     seek    to     introduce   these       items   as    evidence        at   trial.

Accordingly, the Court narrows its focus as to whether the t-

shirts, documents, and photos were properly seized pursuant to the

search warrants.

                                          I.

        “[V]alid warrants may be issued to search any property . . .

at    which     there     is   probable   cause      to     believe        that    fruits,

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instrumentalities, or evidence of a crime will be found.” Zurcher

v. Stanford Daily, 436 U.S. 547, 554 (1978)(emphasis in original).

An    affidavit    supporting     a   search     warrant   “must     provide    the

magistrate with a substantial basis for determining the existence

of probable cause.” Illinois v. Gates, 462 U.S. 213, 239 (1983).

“The task of the issuing magistrate is simply to make a practical,

common-sense decisions whether, given all the circumstances set

forth in the affidavit before him . . . there is a fair probability

that    contraband    or   evidence    of    a   crime   will   be   found     in   a

particular place.” Id. at 238. “[T]he duty of a reviewing court is

simply to ensure that the magistrate had a ‘substantial basis . .

. for conclud[ing]’ that probable cause existed.” Id. at 238-39

(quoting Jones v. United States, 362 U.S. 257, 271 (1960)).

                                       II.

        State police obtained search warrants for Porter’s vehicle

and residence after developing Porter as a suspect in the murder

of Curtis Matthews. Matthews was shot at least ten times while

standing outside of the Jazz Daiquiri Lounge on Claiborne Avenue

in New Orleans. Detective Christopher Harris submitted affidavits

with both warrant applications stating that Harris met with a known

witness of the shooting who identified Porter as the shooter from

a six-photo spread. This information clearly equipped Detective

Harris with probable cause sufficient for a magistrate to issue a

valid search warrant for Porter’s residence and vehicle.

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      Relevant to the contested issues in this motion, the search

warrant for Porter’s residence included “all documents related to

the purchase, sale and/or possession of any firearm; trace evidence

including but not limited to blood evidence: white t-shirt, dark

colored pants, and dark colored bandana.” Likewise, the search

warrant for Porter’s vehicle included “all documents related to

the   purchase,   sale   and/or    possession      of   any   firearms;    trace

evidence including but not limited to hair, fibers, latent prints,

cigarette butts, blood evidence, DNA swabs, as well as photographs

of the location such items were concealed and recovered, and

photographs of where the vehicle was processed.”

      These warrants clearly specified items related to the murder

investigation. The return on the search warrant for Porter’s

residence lists “Two (2) White T-Shirts” and “Various documents

and photographs.” The return on the warrant for Porter’s vehicle

lists “Various papers and documents.”             There is no evidence that

officers seized any items not specified in the warrants. Nor is

there any evidence that police seized any items unrelated to the

Matthews murder investigation.

      Accordingly, Walter Porter’s motion to suppress evidence is

DENIED.




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                             New Orleans, Louisiana, February 26, 2016


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                                       MARTIN L. C. FELDMAN
                                   UNITED STATES DISTRICT JUDGE




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